                     Case 19-15333-mkn                    Doc 2          Entered 08/19/19 21:36:19                        Page 1 of 1

Information to identify the case:
Debtor
                   LAS VEGAS LAND PARTNERS, LLC                                                   EIN 20−1506231
                   Name


United States Bankruptcy Court District of Nevada
                                                                                                  Date case filed for chapter 7 8/19/19
Case number: 19−15333−mkn

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                           12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                      LAS VEGAS LAND PARTNERS, LLC

2. All other names used in the
   last 8 years
3. Address                                 375 E WARM SPRINGS ROAD, SUITE 104
                                           LAS VEGAS, NV 89119

4. Debtor's attorney                       H STAN JOHNSON                                                       Contact phone (702) 823−3500
                                           COHEN JOHNSON PARKER EDWARDS, LLC
     Name and address                      375 E. WARM SPRINGS RD, STE 104                                      Email: sjohnson@cohenjohnson.com
                                           LAS VEGAS, NV 89119

5. Bankruptcy trustee                      SHELLEY D KROHN                                                      Contact phone (702) 421−2210
                                           510 S 8TH STREET
     Name and address                      LAS VEGAS, NV 89101

6.    Bankruptcy clerk's office              300 Las Vegas Blvd., South                                             Office Hours: 9:00 AM − 4:00 PM
                                             Las Vegas, NV 89101
      Documents in this case may be filed
      at this address. You may inspect all                                                                          Contact phone: (702) 527−7000
      records filed in this case at this
      office or online at www.pacer.gov.
                                                                                                                    Date: 8/20/19
7. Meeting of creditors                    September 25, 2019 at 09:00 AM                                       Location:
     The debtor's representative must
     attend the meeting to be              The meeting may be continued or adjourned to a later date. If        300 Las Vegas Blvd., South, Room 1500,
     questioned under oath. Creditors      so, the date will be on the court docket.                            Las Vegas, NV 89101
     may attend, but are not required to
     do so.

8. Proof of claim                          No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
     Please do not file a proof of         If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
     claim unless you receive a notice     that you may file a proof of claim and stating the deadline.
     to do so.

9. Creditors with a foreign                If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
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